Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 1 of 16 PAGEID #: 3
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 2 of 16 PAGEID #: 4
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 3 of 16 PAGEID #: 5
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 4 of 16 PAGEID #: 6
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 5 of 16 PAGEID #: 7
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 6 of 16 PAGEID #: 8
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 7 of 16 PAGEID #: 9
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 8 of 16 PAGEID #: 10
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 9 of 16 PAGEID #: 11
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 10 of 16 PAGEID #: 12
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 11 of 16 PAGEID #: 13
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Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 13 of 16 PAGEID #: 15
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 14 of 16 PAGEID #: 16
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 15 of 16 PAGEID #: 17
Case: 2:20-mj-00743-EPD Doc #: 3 Filed: 10/30/20 Page: 16 of 16 PAGEID #: 18
